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IN 'I`HE UNI'I`ED S'I`ATF.`S DISTRICT COURT FOR THE

MloDLE I)ISTRICT 0F FLoRmA .l?' F_;; ;/j: __';1_

LYNN CRANOR,

Plaintiif
\".
ALLIED COLLECTION SERVIC!;`S. lN(.`. A
Business Enlity of Unknown form doing
business in Florida. and Docs l through 20,

inclusive

Del`endant.

 

Case No.:@°. nf_gt/- 342“-§~_ gm L~_;,?,`_¢ -
COMPLAINT FOR VIOLATIONS OF:

1. NEGt,tGENT vtot.A‘noNs or THE

'I`ELEPHONE CoNSoMER

PRoTECTloN ACT [4? o.S.C. §22?

r_-:T sEQ.]

thLFoL vtotATtoNS or me

TELEPHONE CoNSoMt-:R

PROTEC'noN ACT [4? o.S.c. §227

ET SEQ.]

3. me rata oEtz'r coLLECTION
PRACT:CES ACT [15 U.S.C. § 1692
IiT SEQ.]

4. 'rt-le FLoRIDA CONSUMER
CoLLECTtoN PRACTlCES AC'I'
1FLA_ STAT. § 559 t~;T SEQ.]

I~J

.IURY TRlAL DEMANDED

 

Plaintif`i`LYNN CRANOR ("Plainti!`l") alleges the Following upon information and belief

based upon personal knowledge:

INTR()DUCTION

l. This ease arises l`rotn the illegal actions ol`Al.l.lED COLLEC'[`ION SERV[CES, lNC

("Del`endant" or “ACSl") in negligent|_v. knowingly antl!ot‘ wil|l`ull_v contacting P|aintil`l`on Plaintil`l"s

cellular telephone in violation ol`the Telephone Consutner Proteetion Aet. -I.'»" U_.'S`,L`. § 2_'_’?’ et .t'eq`

(“`TCPA”) thereby invading l’lainli|`l`s privae}'. and in violation oft|te Fair Debt Co||eetion l’ract'ices

Aet_, 15 U.S.C. § 1692 el st'q. and the Florida Consumer Col|eelion Praetices Aet. lil_.A. STA'I` § 559

et seq.

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PARTIES

2. Plaintil`t`, LYNN CRANOR ("P|aintiti"). is a natural person residing in the State of
Florida. and is a "person" as defined by 47 U.S.C. § 153 (39). Plaintiff is a "person" with standing
under 15 U.S.C. §§ 1692d and 1692k(a).

3. Plaintift` is informed and believes, and thereon alleges, that ALLIED COLLECT|ON
SERVICES, lNC. is, and at all times mentioned herein was, a corporation whose primary corporate
address is 3080 S. Durango Dr. Ste. 208, Las Vegas. NV 891 |7.

4. Defendant ALL|ED COLLECT|ON SERV|CES, lNC. ("ACS|" or ‘*Defendant”) is,
and at all times mentioned herein, conducted business in the State of Florida. and within this judicial
district.

5. ACSl regularly does business in the State of Florida by placing calls to individuals,
including F|orida residents and regularly contacting residents therein for the purpose of debt collection,
and is a “debt collector” as that term is defined by 15 U.S.C. § 16923(6).

6. Plaintiff is informed and believes and upon such information and belief alleges
Defendant is also a corporation that continuously and systematically engages in its business of
collecting debts from within the State of F lorida and in the United States.

7. The true names and capacities of Defendants named herein as DOES 1 through 20 are
unknown to P|aintiff. who therefore sues these Defendants by such fictitious names. P|aintiff will
amend the Complaint to show the true names and capacities of such DOES when they have been
ascertained Upon information and beliet`, P|aintif`f` alleges that each of DOES l through 20 was
responsible in some manner t`or the occurrences. acts, and transactions herein alleged, and that
P|aintiff’s damages and violations of Plaintiff`s rights were proximately caused by such Defendants.

8. Upon information and belief, Plaintit`f alleges that at all times mentioned Defendants
were the agents, servants, representatives, partners and/or employees of co-Def`endants, and, by
engaging in the actions mentioned below, were. unless otherwise alleged, acting within the course and
scope of their authority as such agent. servant. representative, partner, and/or employee. with the

permission and consent ofco-Defendants.

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9. Any allegations about acts of any corporate or other business Defendants means that
the corporation or other business did the alleged acts through its oi`licers. directors, employees. agents,
and/or representatives while they were acting within the actual or ostensible scope of their authority.

JURISDICTION AND VENUE

10. This action arises out of Defendant`s repeated violations of the Telephone Consumer
Protection Act, 47 U.S.C. § 227, e_t g (“TCPA") and of the Fair Debt Collection Practices Act, 15
U.S.C. § 1692 el seq. and the Florida Consumer Collection Practices Act, FLA. STAT § 559 et seq.
Pursuant to 28 U.S.C. § 1331 , this Court has federal questionjurisdiction over this matter as it arises under
the Telephone Consumer Protection Act (“TCPA”). 47 U.S.C. § 227.

1 l . Pursuant to 28 U.S.C. § l391(b), venue is proper because a substantial part of the events
giving rise to this claim occurred in thisjudicia| district.

DEMAND FOR JURY TRIAL

12. Plaintift` is entitled to and hereby respectfully demands a trial by jury on all issues so
triable. US Consl. amend. 7. Fed.R.Civ.P. 38.

DEFENDANT ACSI’S BUSlNESS

13. ACSl`s primary business is the collection of past debts from distressed consumers.

14. |n connection with ACSl`s business. Det`endant places telephone calls using a
"predictive dialer" and/or an artificial or prerecorded voice.

15. “[A] predictive dialer is equipment that dials numbers and. when certain computer
software is attached, also assists telemarketers in predicting when a sales agent will be available to take
calls. The hardware, when paired with certain sottware. has the capacity to store or produce numbers
and dial those numbers at random. in sequential order. or from a database of numbers." In the Matter
of Rules and Regulmions lmplememing the Telephone Consumer Prr)lecti(m Acl r)f 1991 . Declaratory
Ruling and Order, adopted .1 une 18, 2015, p. 13, 11 |3: ln the Matlcr of Rules & Regulations
implementing lhe Telephone Consumer Proleclion Act Q/` 1991 . 18 F.C.C. Rcd. 14014, 14091-4093
(2003): see also In the Marler of Rules & Regulations lmplemenling the Telephone Consumer

Proteclil)n Act of 1 991, 23 F.C.C. Rcd. 559, 562-63 (2008).

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FACTUAL ALLEGATIONS

16. Beginning in and around August 20, 2015. Def`endant contacted Plaintifi" on her cellular
telephone in an attempt to collect an alleged outstanding debt.

17. Def`endant called or attempted to ca11 P|aintit`l` from the telephonic numbers (866) 377-
3956 and (702) 932-3860 which appeared on P|aintil`l‘s cellular phone.

18, Plaintif`f was the subscriber to the Cel|u|ar telephone number Defendant called at the
time of each call ("P|aintif`f’s Number").

19. On August 20, 2015, at approximately 1:38 p.m. Plaintif`f` received a call from (702)
932-3860. which Plaintif`f` did not answer. Over the next live months, Plaintif`f` received several more
calls from the numbers (702) 932-3860 and (866) 377-3956.

20. Prior to the time when Def`endant began calling P|aintit`f’s Cel|u|ar telephone number
()n August 20, 2015 P|aintili` had not provided express consent to Defendant to call Plaintif`f`s number.

21. At no time after Def`endant began calling P|aintif`f`s Cel|u|ar telephone number has

P|aintif`f` provided express consent to Def`endant to call Plaintii`f’s Cel|u|ar telephone number.

22. P|aintit`f`s Cel|u|ar telephone number is assigned to a telephone service for which
P|aintii`f is charged f`or the call.

23. As of the date on which this complaint is being filed, Def`endant placed at least two
hundred and one (201) telephone calls to P|aintili`s cellular phone using a predictive dialer and/or an
artificial or prerecorded voice.

APPLICABLE LAW

24. ln 1991, the Telephone Consumer Protection Act (TCPA), 47 U.S.C.A. § 227, was
enacted by Congress in response to voluminous consumer complaints about abuses of telephone
technology. The purpose and history of the TCPA indicate that Congress was trying to prohibit the use
of Automatic Telephone Dialing Systems (ATDSs) to communicate by telephone in a manner that
would be an invasion of privacy. Thus, the Act is aimed at “protect[ing] the privacy interests of`
residential telephone subscribers by placing restrictions on unsolicited, automated telephone calls to

the home and to facilitate interstate commerce by restricting certain uses of facsimile machines and

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automatic dialers.” S. Rep. No. 102-178, at l (1991), reprinted in 1991 U.S.C.C.A.N. 1968 [quoted in
Sa!terfield v. Simon & Schusler. lnc., 569 F.3d 946, 954 (9th Cir. 2009)].

25. The TCPA provided that it is unlawful for any person within the United States to (1)
make any call using any automatic telephone dialing system (“ATDS”) or an artificial or prerecorded
voice (2) without the prior express consent of the called party. Section 227 of the act defined ATDS as
“equipment which has the capacity (A) to store or produce telephone numbers to be called, using a
random or sequential number generator, and (B) to dial such numbers"

26. Over the years, the telemarketing industry underwent significant changes in technology
and methods to invade consumer privacy through automated solicitation and debt collection. By 2003,
in response to the increasing consumer complaints and the Federa| Communications Commission
("FCC”) revised the TCPA and adopted new rules f`or consumers to combat increasingly sophisticated
and increasing number of automated calls to consumers. Some of the adoptions in the 2003 order
included a do not call list and FCC clarification as to what constitutes an ATDS. Among several other
clarifications, the FCC ordered that predictive dialers' have the capacity to store or produce telephone
numbers, and are therefore an ATDS under Section 277. This interpretation of the ATDS has been
routinely accepted by courts of` law throughout the countty.

27. On .lune 18, 2015, the FCC made another declaratory ruling further reinforcing that an
autodialer is any technology with the capacity, whether present or future, to dial random or sequential
numbers. This definition ensures that robo-callers cannot skirt consumer consent requirements through
changes in calling technology design or by calling from a list of numbers. FCC .|une 18, 2015
Declaratory Rulings Press Release. The FCC also made clear that a called party may revoke consent

to be called at any time and through any reasonable means.

28. Senator Fritz Hollings, the original sponsor of` the TCPA. stated:

Computerized calls are the scourge of modern civilization. They wake us
up in the moming; they interrupt our dinner at night; they force the sick

 

' A predictive dialer is equipment that dials numbers and, when certain computer software is
attached, also assists telemarketers in predicting when a sales agent will be available to take
calls.

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and elderly out of` bed; they bound us until we want to rip the telephone
right out of the wall.

137 Cong. Rec. 30.821 (|991).

29. The TCPA defines an automatic telephone dialing system (“ATDS") as “equipment
which has the capacity...(A) to store or produce telephone numbers to be ca|lcd. using a random or
sequential number generator; and (B) to dial such numbers." 47 U.S.C. § 227(a)(1).

30. A predictive dia|er is an ATDS within the meaning of the TCPA. ln the Ma!ter of
Rules and Regulations Implememing the Telephone Consumer Proteczion Act q/`1991. Declaratory
Ruling and Order. adopted June 18, 2015. p. 13. 11 13; ln the Matrer of Rules & Regulations
lmplemenling the Telephone Consumer Prr)leclion Act q/`1991, 18 F.C.C. Rcd. 14014. 14091-4093
(2003): see also ln the Matter of` Ru|es & Regu|ations implementing the Telephone Consumer
Protection Act of 1991. 23 F.C.C. Rcd. 559, 562-63 (2008).

31. The TCPA provides, in part:

(b) RESTR|CT[ONS ON THE USE OF AUTOMATED TELEPHONE EQUIPMENT._

1) PROHIB|T|ONS.-lt shall be unlawful for any person within the United States. or
any person outside the United States if` the recipient is within the United States-

(A) to make any call (other than a call made for emergency purposes or made
with the prior express consent of the called party) using any automatic telephone
dialing system or an artificial or prerecorded voice--

***

(iii) to any telephone number assigned to a paging service, cellular
telephone service, specialized mobile radio service, or other radio
common carrier service, or any service for which the called party is
charged for thc ca|l...

(D) to use an automatic telephone dialing system in such a way that two or more
telephone lines of` a multi-linc business are engaged simultaneously.

47 U.S.C. §§ 227(b)(1)(A)(iii) and 227(b1(l )(D)

32. The term “ca||ed party." as used in Section 227(b)(1)(A) of the TCPA, refers to the

person or entity subscribing to the called number at the time the telephone call is made. 1n the Matter

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quuIes and Regulati¢)ns lmplcmenling the Telephone Consumer I’roleclion Act of 1991, Declaratory
Ruling and Order. adopted .|une 18, 2015. pp 40-41. 11 73.

33. A caller that places calls to a reassigned telephone number without the express consent
of the called party is deemed to have °‘constructive knowledge" of the reassignment after one phone
ca11 has been placed to that reassigned number. ln lite Mutter r)_/`Rnles and Regulalions Implemenling
lhe Telephone C'onsw)wr Proleclion Act ()_/`1991, Declaratory Ruling and Order, adopted .lune 18, 201 5.
p. 40. 11 72.

34. Plaintiff was the "cal|ed party" in each telephone call Defendant made to Plaintiff` s
Number.

35. 15 U.S.C. § 1692d prohibits a debt collector from engaging "in any conduct the natural
consequence of which is to harass, oppress, or abuse any person in connection with the collection ot`a
debt."

36. 15 U.S.C. § 1692d(5) specifically forbids a collector from "'causing a telephone to ring
or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,
abuse, or harass any person at the called number."

37. The least sophisticated debtor in P|aintifi`s position would justifiably be misled into
believing that because they are receiving phone calls from a debt collector, they must owe the debt.
This is the precise type of deceptive conduct Congress intended to protect consumers against when it
enacted the FDCPA.

W
Negligent Violations of the Telephone Consumer Protection Act
47 U.S.C. § 227 et seq.

33. Plaintifi` incorporates by reference all of the preceding paragraphs of this complaint as
though fully set forth above.

39. Defendant ACSl negligently violated 47 U.S.C. § 227(b)(1)(A) on multiple and
separate occasions by using an ATDS and/or an artificial or prerecorded voice to call Plaintif’f` at a

telephone number assigned to a service f`or which P|aintiff is charged for the call without Defendant’s

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prior express consent.

40. As a result of Defendant’s negligent violations of 4 7 U.S.C. § 227 el seq.. Plaintif`f` is
entitled an award of $500.00 in statutory damages, for each and every violation, pursuant to 4 7 U.S. (i'.
§ 237(5)(3)(3)~

SECOND CAUSE OF ACTION
Knowing and/or Wil|ful Violations of the Telephone Consumer Protection Act
47 U.S.C. § 227 et seq.

41 . Plaintifi` incorporates by reference all of` the preceding paragraphs of this complaint as

though fully set forth above.

42. The TCPA provides, in part:

If the court finds that the defendant willfully or knowingly violated this subsection or
the regulations prescribed under this subsection, the court may, in its discretion,
increase the amount of the award to an amount equal to not more than 3 times the
amount available under subparagraph (B) of this paragraph.

47 U.S.C. § 227(b)(3).

43. The Communications Act of 1943, of which the TCPA is a part, defines “willful" as
“the conscious or deliberate commission or omission of such act. irrespective of any intent to violate
any provision[], rule or regulation....” 47 U.S.C. § 312(f).

44. in order to establish a “willful” or “knowing” violation of the TCPA, a plaintiff need
not demonstrate that the defendant intended to violate the statute. or that it knew or should have known
it was violating the statute. See Roylance v. ALG Real Esl. Servs., 1nc. 2015 U.S. Dist. LEXlS 44930,
*31 (N.D. Cal. Mar. 16. 2015); Bridgeview Health C are Clr. le. v. Asse! Mgmt. Solulions. Inc., 2011
U.S. Dist. LEXIS 50046. *18-20 (N.D. Ga. 2011).Clark, 2013 U.S. Dist. LEXIS 37310, *21-22 (N.D.
lll. Mar. 19, 2013); Stewardv. Regem Asset Mgmt. Solulions. lnc., 2011 U.S. Dist. LEXIS 50046, *18-
20 (N.D. Ga. 2011).

45. lnstead, a plaintiff need only show that the defendant engaged in a “voluntary act” that
violated the TCPA. See Bridgeview, 2013 U.S. Dist. LEXIS. at *21-22; see also Roylance, 2015 U.S.
Dist. LEXIS, at *31 (intentiona|ly making phone calls that violated TCPA, without intent to violate the

statute, was sufficient to warrant treble damages).

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46. Defendant ACSl voluntarily placed telephone calls to Plaintiff's Number using an
ATDS and/or an artificial or prerecorded voice.

47. The foregoing acts and omissions of Defendant constitute numerous and multiple
knowing and/or willful violations of the TCPA, including but not limited to each and every one of the
above cited provisions of 4 7 U.S.C. § 227 et seq.

48. As a result of Defendant’s knowing and/or willing violations of 4 7 U.S.C. § 227 et seq..
Plaintif`f`is entitled an award of $ l ,500.00 in statutory damages. for each and every violation, pursuant
to 47 U.S.C. § 22 7(b)(3)(B) and 4 7 U.S.C. § 22 7(1))(3)((.').

49. Plaintiff is also entitled to and seek injunctive relief prohibiting such conduct in the
filture.

THlRD CAUSE OF ACT|ON
Violation of the Fair Debt Collection Practices Act (FDCPA)
15 U.S.C. § 1692 elseq.

50. Plaintiff incorporates herein by reference all of the preceding paragraphs of this
complaint as though fully set forth above.

51 . The acts and practices complained of in this Complaint constitute conduct the natural
consequence of` which is to harass, oppress, or abuse any person in connection with the collection of a
debt in violation of 15 U.S.C. § 1692d.

52. The FDCPA prohibits a debt collector from engaging in any conduct the natural
consequence of which is to harass, oppress, or abuse any person in connection with the collection of a
debt. Without limiting the general application of the foregoing, the following conduct is a violation of
this section. . . “causing a telephone to ring or engaging any person in telephone conversation repeatedly
or continuously with intent to annoy. abuse, or harass any person at the called number”. See 15 U.S.C
§1692d(5).

53. Defendants repeatedly and/or continuously called Plaintiff's cellular phone at least two-
hundred and one times (20|) over a period of` approximately five months in violation of 15 U.S.C. §

1692d(5). The sheer number of calls evidences the knowing and willful nature of Defendants’ actions.

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Defendants have employed a practice of utilizing automatic dialers for calling debtors, despite the
statutory prohibition and plethora of case law and legislative history opposing this practice.

54. As a result of Defendants` violations of the FDCPA, Plaintiff is entitled to actual
damages pursuant to 15 U.S.C. § l692k(a)(1); statutory damages in an amount up to $1,000.00
pursuant to 15 U.S.C. § l692k(a)(2)(A); and, reasonable attomey’s fees and costs pursuant to 15 U.S.C.
§ 1692k(a)(3) from Defendants.

FOURTH CAUSE OF ACTION
Violation of the Florida Consumer Collection Practices Act
FLA. STAT. § 559 et seq.

55. Plaintiff incorporates herein by reference all of the preceding paragraphs of this
complaint as though fully set forth above.

56. Defendants` foregoing acts against Plaintiff constitutes violations of the Florida
Consumer Collections Practices (FCCPA) Act FLA. STAT. § 559 el seq.

57. These violations of the Florida Consumer Collections Practices Act were willful as set
for the above.

58. ln determining the Defendants’ liability for any additional statutory damages, the court
shall consider the nature of the Defendants’ noncompliance with Section 559.72, the frequency and
persistence of the noncompliance, and the extent to which the noncompliance was intentional.

59. The FCCPA prohibits wil|fiil communication with the debtor or any member of her or
his family with such frequency as can reasonably be expected to harass the debtor or her or his family,
or willfully engage in other conduct which can reasonably be expected to abuse or harass the debtor or
any member of her or his family. See Fla. Stat. §559. 72(7).

60. Defendants repeatedly and/or continuously called Plaintifi‘s cellular phone at least two-
hundred and one times (201) over a period of approximately five months. The sheer number of calls
evidences the knowing and willful nature of Defendants’ actions. Defendants have employed a practice
of utilizing automatic dialers for calling debtors, despite the statutory prohibition and plethora of case

law and legislative history opposing this practice.

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61 . As a result of Defendants’ violations of Fla. Stat. § 559.72 Plaintiff is entitled to actual
damages and for additional statutory damages in the amount up to $1000.00 together with court costs
and reasonable attomey’s fees incurred by the Plaintiff.

PRAYER FOR RELlEF
WHEREFORE, PLAINTlFF prays forjudgment as follows:
a. An order enjoining Defendants from placing further telephone calls to

Plaintiff's Number pursuant to 47 U.S.C. § 227(b)(3).

b. .ludgment against Defendants for statutory damages pursuant to 47 U.S.C.
§ 227(b)(3) for each and every call Defendants made in violation of the
TCPA.

c. Judgment against Defendants for statutory damages of $l ,000 pursuant
to 15 U.S.C. § 1692k(a)(2)(A).

d. .|udgment against Defendants for statutory damages of $l ,000 pursuant
to FLA. STAT. § 559.77(2).

e. An award of reasonable attomey’s fees and costs.

f. For such other legal and/or equitable relief as the Court deems

appropriate.

Dated this 9th day of February, 2016.

Respectfu|ly submitted,

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